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      1      Jesse Graham
             3680 Wilshire Blvd                         [7rsuict c«xt
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      2
              P-04 Ste 1092
      3      Los Angeles, CA 90010
      4      Telephone: 323-393-0548
             In Proprid Persona             L~C v 2O'O 70 o Q ~'~`~~~
      5
                                       UNITED STATES DISTRICT COURT
      6
                                      CENTRALDISTRICT OF CALIFORNIA
      s ~ 3ESSE GRAHAM,                                          ( Lase No.:
                                          Plaintiff,               COMPLAINT
     10      VS.
                                                                  [DEMAND FOR TRIAL BY JURY]
     11
             TAYLOR SWFFT, AND DOES 1
     12      THROUGH 10,

     13
                                          Defendants.
     14

     15                                           INTRODUCTION
     16             1.     PlaintiffJesse Graham ("Plaintiff' or "Graham")brings this lawsuit against
     17      DefendantsTaylor Swift("Swift") and Does 1 through 10(collectively,"Defendants")due
     18      to their infringement ofPlaintiff's copyrighted musical composition
     19                                                 raRTT~s
     20 ~'          2.     Plaintiff Jesse. Graham is an individual who resides in the Central District of
     21 ~'    California, and is an accomplished and well-renowned singer and songwriter.
     22             3.   Plaintiff alleges on information and belief that Defendant Taylor Swift
     23      ("Swift")is as individual who resides in the Central District of California..
     24            ~.    Plaintiff is ignorant ofthe true-names and capacities of the Defendants sued
     25      herein as Does 1 to 10, and therefore sues these Defendants by such fictitious names.                          I,
     26      Plaintiff will amend this Complaint to allege their true names and capacities when                             ~,
     27       ascertained.


                                                             ~e
              Complaint
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1           5.       A~ all times relevant herein, and at the dime of the transactions complained
2    ~ of, each of the Defendants were the agent and employee of each of the remaining
3    ', Defendants, and in doing the things hereinafter alleged, was acting within the scope of
4    such agency.
5                                 JURISIIICTION AND VENUS
6           6_  The Court has subject matter jurisdiction over this pursuant to 28 U.S.C. §
     1331 andl338because the action arises under the Copyright Act(17 U.S.C. §§ 101, et
 g seq.)_
 9          7.   Venue is proper in the Central District of California under 28 U.S.C.
to   14U4(a} becausethe Defendants reside or may be found within the Central Bistnct of
11   California, and personal jurisdiction may be properly exercised over the Defendants.
12                                 FACTUAL ALLEGATIONS
13          8.    Plaintiff'Jesse Graham has been a songwriter since the early 1990s. Graham
14   has written hundreds of songs and is famous for starting many trends, including the
15   "Random Act of Kvidness" movement in 2013 and the "New Dad'movement.
16        9.   In 2013, Graham authored the musical composition entitled "Haters gone
1~   Hate." Graham registered the Haters gone Hate musical composition with Broadcast
18   Music, Inc.("BMI")on February 5, 2013, with BMI Work # 15363757
19          lfl.   Graham's Haters gone Hate musical composition includes the following
20 chorus:"Haters gonehate[;] Players gone play[.J"
21          1 1.   Graham has filed an application with the United States Copyright Office to
22   register a copyright for the Haters gone Hate musical composition, and the application
23   has been assigned Case Number ~-8977439651 by the United States Copyright 4~ce.
24         12. Since 2013, Graham's Haters gone Hate musical composition was publicly
25   performed by Grraham and broadcast and published on the Internet. The Haters gone
26   Hate musical composition has been available for purchase on ~outube, iTunes, Google
27   Play, Spotyfy and Amazon. etc


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 1         13.   In 2014, Swift copyrighted the musical composition entitled "Shake It Off'
 2   and Swift copyrighted the "Shake It Ofd' musical composition under United States
 3   Copyright Office Registration Number PA0001911732 on August 19, 2014.
 4        14. Swift's "Shake It Off'musical composition extensively copies from
 5   Graham's Haters Gone Hate musical composition. In particular, the Shake It Off musical
 6   composition has the following lyrics: "Cause the players gonna play, play, play[;) And
   the haters gonna hate, hate, hake[.]": "Fakers gonna fake, fake, fake[;] 30xs
 e In all, the infringed copyrighted material accounts for roughly twenty percent of the
 9 Shake It Off musical composition.

10         15.     Swift undoubtedly had access to the Haters gone Hate musical composition
11   prior to writing and releasing the Shake It Off Musical Composition given the broad
12   dissemination of the Haters gone Hate musical composition.
13         16. Swift knew or should have known that the lyrics "Cause the players gonna
14   play, play, play[;] And the haters gonna hate, hate, hate":"Fakers gonna fake, fake,
15   fake[;]
16   could not be used in a musical work by Defendants without a license andlor songwriting
17   credit, as is customary standard practice in the music industry. Despite this industry
is standaxd practice, Swift never sought a license or other permission from Plaintiff.
19         17. Upon its release, Swift's Shalce It Off musical composition debuted at No. 1
20 on Billboard's Hot 100 chart. The song went on to become a massive worldwide hit for
21 Swift. The Shake It Off musical composition stayed on the Hot 100 for fifty weeks — 24

22   ofthem on the top 1 D. The Shake it Off musical. composition has been certified 9x
23   Platinum by the Recording Industry Association of America("RIAA") with over
24   9,000,000 copies sold. The music video for "Shake it Off'featuring the song debuted on
25   August I8,2014 and'has approximately 2,380,831,410 views on YouTube.3 Indeed,
26   "Shake it Off'is the seventh most viewed video of all time on YouTube.4
27        18. Swift's album 1989, for which the Shake it Off musical composition was the
     lead single, has been certified 6x Multi-Platinum. by the RIAA with over 6,004,000
                                                -3-


     Complaint
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1     certified units sold in the United States. In addition, 1989 has sold over 10,000,000 units
F,~   worldwide
 3          19.      Swift'sinfringing acts include, but are not limited to, unlawfully creating,
 4    recording,.. manufacturing, producing, selling, licensing marketing and/or distributing the
5     Shake It Off musical composition Swift's infringement amounts to the unlawful
 6    appropriation of Cr'raham's copyrighted material including the lyrical phrase "Haters
      hate[;] Players gone play[.]"
 s          20.    The Shake It Off musical composition has also been extensively Licensed by
 9    Swift to various third parties for commercial and advertising uses including film,
10 advertisements, television, and video games.
11       21. On information and belief, Swift has exploited, and continue to exploit, the
12 Shake It Off musical composition in this District, the State of California, and throughout

13    the United States and the world.
14          22.   Swift's infringement is continuing she continues to sell and license the
15    Shake It Off musical composition. Graham has informed Swift ofthe infringement, yet,
16    nevertheless, Swift has persisted in her infringement.
17                                  FIRST CAUSE OF ACTION
18                                COPYRIGHT INFRINGEMENT
19                       BY PLAINTIFF AGAINST ALL DEFENDANTS
20           23.   Plaintiff incorporates by reference the preceding allegations of the
21    Complaint as though fully set forth herein.
22         24. Defendants, without authorization, have used and are using Plaintiffs Ha
23    gone Hate musical composition
24           25_   Defendants' acts of infringement have been willful, intentional, and
25    purposeful, in disregard of, and indifferent to the rights of Plaintiff.
26          26 As a dixect and proximate result of Defendants' infringement of Plaintiff's
27  Haters gone hate musical composition and exclusive rights under the Copyright Act,
 :~ Defendants are liable for maximum statutory damage pursuant to 17 U.S.C. § 504(c) up
                                                   -4-


       Complaint
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1    to $150,000 for each of the copyrights infringed, where such infringement took place on
2    or after the effective date of registration. of the copyright. Alternatively, at
3    Plaintiff'selection, pursuant to 17 U.S.C. § 504(b), Plaintiff is entitled to his actual
4    damages plus Defendants' profits from all infringements occurring on or after the
5    effective date of registration of the copyright, as will be proven at trial.
6          27. Plaintiff is entitled to its actual damages plus Defendants' profits from all
     infringements occurring prior to the effective date of registration of the copyright for the
8    Haters gone Hate musical composition, as will be proven at trial.
9          28. Plaintiff is entitled to his costs, including reasonable attorneys' fees,
to   pursuant to 17 U.S.C. § 505.
11         29. Defendants' conduct is causing, and unless enjoined by this Court, will
12   continue tocause greet and irreparable injury to Plaintiffthat cannot fiilly be compensated
13   or measured in money. Plaintiff has no adequate remedy at law. Pursuant to ]7 U.S.C. §
14   502, Plaintiffis entitled topreliminary and permanent injunctions requiring Defendants to
15   employ reasonable methodologies to prevent or limit infringement ofPlaintiff's Haters
16   gone Hate musical composition.
17                                PRAYER FOR RELIEF
18          WHEREFORE,Plaintiff prays that the Court grant the following relief:
19          a.  General damages in an amount to be proven at trial, but not less than
20 $42,000,000;
~1          b.     Preliminary and permanently enjoin Defendants, as well as the Defendants'
22   officers, agents, servants, employees, and attorneys, and all persons in active concert or
23   participation with Defendants, from use of Plaintiff's Haters gone Hate work.
24         c.     Find Defendants liable for infringement of the Haters gone Hatemusical
25   composition;
26          d.   Order an award to Plaintiff of all actual damages, in the minimum amount
27   $42,000,000.00, and an accounting of any gains, profits, and advantages derived by
~:~ Defendants resulting from the infringing acts complained of herein;
                                                    -5-


     Complaint
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1          e.    exemplary and punitive damages;
2         f.     attorney's fees and other litigation costs;
3          g.    costs of court;
 4         h.    prejudgment interest on all damages and/or profits awarded by the Court;
5          i.    such other and further relief to which they may be justly entitled.
6                              DEMAND FOR TRIAL BY JURY
           PlaintiffJesse Grahamdemands a trial by jury        all cl ~   o triable.
 s Dated: August 3, 2020                                                      ^
 9
                                            IN PR~OPRIA PERSOI~IA
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     Complaint
